          Case 1:12-cr-00069-JB-C                     Doc# 151           Filed 05/01/15             Page 1 of 1               PageID# 616
$2 5HY $/6'2UGHU5HJDUGLQJ0RWLRQIRU6HQWHQFH5HGXFWLRQ3XUVXDQWWR86& F 


                                      81,7('67$7(6',675,&7&2857
                                                                        IRUWKH
                                                       Southern District of Alabama
                                                      BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                    8QLWHG6WDWHVRI$PHULFD
                               Y
                       JOSPEH VALINSKY                                          &DVH1R       12-00069-004
                                                                                8601R 12633-003
'DWHRI2ULJLQDO-XGJPHQW                            2-27-2013
'DWHRI3UHYLRXV$PHQGHG-XGJPHQW                                              Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        8SRQPRWLRQRI u   ✔  WKHGHIHQGDQW u WKH'LUHFWRURIWKH%XUHDXRI3ULVRQV u WKHFRXUWXQGHU86&
 F  IRUDUHGXFWLRQLQWKHWHUPRILPSULVRQPHQWLPSRVHGEDVHGRQDJXLGHOLQHVHQWHQFLQJUDQJHWKDWKDV
VXEVHTXHQWO\EHHQORZHUHGDQGPDGHUHWURDFWLYHE\WKH8QLWHG6WDWHV6HQWHQFLQJ&RPPLVVLRQSXUVXDQWWR86&
 X DQGKDYLQJFRQVLGHUHGVXFKPRWLRQDQGWDNLQJLQWRDFFRXQWWKHSROLF\VWDWHPHQWVHWIRUWKDW866*%
DQGWKHVHQWHQFLQJIDFWRUVVHWIRUWKLQ86& D WRWKHH[WHQWWKDWWKH\DUHDSSOLFDEOH
IT IS ORDEREDWKDWWKHPRWLRQLV
           u '(1,(' u✔ *5$17('DQGWKHGHIHQGDQW¶VSUHYLRXVO\LPSRVHGVHQWHQFHRILPSULVRQPHQW(as reflected in
the last judgment issued)RI      70             PRQWKVis reduced to           60 months                  



ADDITIONAL COMMENTS




([FHSWDVRWKHUZLVHSURYLGHGDOOSURYLVLRQVRIWKHMXGJPHQWGDWHG                           2-27-2013          VKDOOUHPDLQLQHIIHFW
IT IS SO ORDERED                                                  Callie V.S. Granade                        Digitally signed by Callie V.S. Granade U.S. District Judge
                                                                                                              DN: cn=Callie V.S. Granade U.S. District Judge, o=U.S.
                                                                                                              Government, ou=Federal Judiciary,

2UGHU'DWH                   5-1-2015                             U.S. District Judge                        email=efile_granade@alsd.uscourts.gov, c=US
                                                                                                              Date: 2015.05.01 13:09:17 -06'00'
                                                                                                      Judge’s signature


(IIHFWLYH'DWH               11-1-2015                                                      United States District Judge
                     (if different from order date)                                                Printed name and title
